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       In the United States Court of Federal Claims
                               OFFICE OF SPECIAL MASTERS
                                         No. 16-361V
                                    Filed: January 9, 2017
                                       UNPUBLISHED

*************************
JOHN DAKOTA JACKSON,                       *
                                           *
                     Petitioner,           *
              v.                           *
                                           *      Attorneys’ Fees and Costs;
SECRETARY OF HEALTH                        *      Reasonable Amount to Which
AND HUMAN SERVICES,                        *      Respondent Does Not Object
                                           *
                     Respondent.           *
                                           *
*************************
Edward M. Kraus, Law Offices of Chicago Kent, Chicago, IL, for petitioner.
Darryl R. Wishard, U.S. Department of Justice, Washington, DC, for respondent.

                     DECISION ON ATTORNEYS’ FEES AND COSTS1

Roth, Special Master:

        On March 21, 2016, John Dakota Jackson (“Mr. Jackson” or “Petitioner”) filed a petition
for compensation under the National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-
10, et seq.,2 (the “Vaccine Act”). Petitioner alleged that he developed rheumatoid arthritis as a
result of receiving a tetanus-diphtheria-acellular pertussis (“Tdap”). On January 3, 2017, the
undersigned issued a decision awarding compensation to petitioner based on the parties’
stipulation agreement. (ECF No. 22).


1
  Because this unpublished decision contains a reasoned explanation for the action in this case,
the undersigned intends to post it on the United States Court of Federal Claims' website, in
accordance with the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal
Management and Promotion of Electronic Government Services). In accordance with Vaccine
Rule 18(b), petitioner has 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review,
the undersigned agrees that the identified material fits within this definition, the undersigned will
redact such material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755.
Hereinafter, for ease of citation, all “§” references to the Vaccine Act will be to the pertinent
subparagraph of 42 U.S.C. § 300aa (2012).
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        On January 5, 2017, petitioner filed a motion for attorneys’ fees and costs. (ECF No. 28).
Petitioner requests attorneys’ fees in the amount of $27,314.20 and attorneys’ costs in the
amount of $2,918.55 for a total amount of $30,232.75. Id. In accordance with General Order #9,
petitioner’s counsel represents that petitioner incurred no out-of-pocket expenses.

        On January 6, 2017, respondent filed a response stating respondent is satisfied the
statutory requirement for an award of attorneys’ fees and costs are met in this case. (ECF No.
29).

       The Vaccine Act permits an award of reasonable attorneys’ fees and costs. § 15(e).
Based on the reasonableness of petitioner’s request and the lack of opposition from respondent,
the undersigned GRANTS petitioner’s motion for attorneys’ fees and costs.

      Accordingly, the undersigned awards the total of $30,232.753 as a lump sum in the
form of a check jointly payable to petitioner and petitioner’s counsel, Edward M. Kraus.

       The clerk of the court shall enter judgment in accordance herewith.4

IT IS SO ORDERED.

                                                    s/Mindy Michaels Roth
                                                    Mindy Michaels Roth
                                                    Special Master




3
  This amount is intended to cover all legal expenses incurred in this matter. This award
encompasses all charges by the attorney against a client, “advanced costs” as well as fees for
legal services rendered. Furthermore, § 15(e)(3) prevents an attorney from charging or
collecting fees (including costs) that would be in addition to the amount awarded herein. See
generally Beck v. Sec’y of Health & Human Servs., 924 F.2d 1029 (Fed. Cir.1991).
4
 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing
of notice renouncing the right to seek review.

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